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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT TACOMA

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        MAHSA PARVIZ,
 9                                                             CASE NO. 2:23-CV-1407-JHC-DWC
                                 Petitioner,
                 v.
10                                                             ORDER ADOPTING REPORT
                                                               AND RECOMMENDATION
        H. BARRON and C. PETERS,
11
                                 Respondents.
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13
           The Court, having reviewed the Report and Recommendation of Magistrate Judge David
14
     W. Christel (R&R), and the remaining record, does hereby ORDER:
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           (1)        There is no objection to the R&R. The Court agrees with the analysis and
16                    conclusions in the R&R. Thus, the Court adopts the R&R.

17         (2)        Petitioner’s federal habeas Petition is dismissed.

18         (3)        The Clerk is directed to send copies of this Order to Petitioner, counsel for
                      Respondent, and to the Hon. David W. Christel.
19
           DATED this 7th day of June, 2024.
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21                                                          __________________________________
                                                            JOHN H. CHUN
22                                                          United States District Judge

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     ORDER ADOPTING REPORT AND RECOMMENDATION - 1
